              Case 1-18-01038-ess                              Doc 63             Filed 10/22/19                   Entered 10/22/19 14:57:45

                                                                                                                                                  Jacqulyn S. Loftin, Esq.
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                                                                                                  October 22, 2019


    Via Electronic Filing
    Judge Elizabeth S. Stong
    United States Bankruptcy Court, E.D.N.Y.
    Conrad B. Duberstein U.S. Courthouse
    271-C Cadman Plaza East, Suite1595
    Brooklyn, NY 11201-1800


                                            In re Esther DuVal, as Chapter 11 Trustee of Gallant Capital
                                                  Markets Ltd. v. AFX Capital Markets Ltd. et al.
                                                  Adv. Proc. No. 18-01038 (ESS)


    To the Honorable Judge Stong:

           My firm represents Esther DuVal, solely in her capacity as the Chapter 11 Trustee (the
    “Trustee”) of the jointly administered estates of Avenica, Inc. and Gallant Capital Markets, Ltd.
           This letter is to confirm the adjournment of the pre-trial conference in the above-
    mentioned adversary proceeding and the hearing on the Trustee’s sanctions motion, per the
    Court’s direction, from Thursday, October 24, 2019 at 10:00 a.m. to Friday, November 15,
    2019 at 9:30 a.m.
                 Thank you for your attention to this matter.



                                                                                                  Respectfully submitted,
                                                                                                  s/ Jacqulyn S. Loftin
                                                                                                  Jacqulyn S. Loftin

    JSL:rrl
    cc:     Esther DuVal, Trustee (via email)
            Robert M. Schechter, Esq. (via email)
            John S. Mairo, Esq. (via email)
            Heidi Sorvino, Esq. (via email)
    M:\Documents\Company\Cases\Gallant and Avenica cases\AFX Adv Proc\Letters\Ltr of Adjournment PTC & Hearing on Sanctions Mtn 10.24.19 at 10 am ADJ TO 11.15.19 at 930 am.doc




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